Case 3:18-cr-20422-RHC-APP ECF No. 28 filed 10/21/20              PageID.194      Page 1 of 2




                      UNITED STATES DISTRICT COURT
                FOR THE EASTERN DISTRICT OF MICHIGAN
                          SOUTHERN DIVISION
_____________________________________________________________________

UNITED STATES OF AMERICA,

              Plaintiff,

v.                                                        Case No. 18-20422

STEVEN MIRACLE,

           Defendant.
__________________________________/

               ORDER GRANTING DEFENDANT’S “MOTION TO STAY”

       On August 12, 2020, Defendant Robert Miracle has filed a motion for a reduction

in his sentence under 18 U.S.C. § 3582(c)(1)(A). (ECF No. 24.) The United States filed

a timely response on September 22, 2020. (ECF No. 26.)

       On October 7, 2020, the court received a filing entitled “Motion to Stay 3582

Proceedings” which was signed and dated September 29, 2020. (ECF No. 27.) The text

of this motion explains that Defendant is requesting more time to formulate his reply

because he had not yet received a copy of the response briefing. (It seems likely that

the two filings may have crossed in the mail.) Defendant cites the delays experienced

by the US Post Office and the prison mail system due to the pandemic as the reason for

such an extension. Consequently, the court interprets Defendant’s motion to be a timely

request for an extension of time to file his reply brief, which the court will now grant.

       Under Federal Rule of Civil Procedure 6(b)(1), extensions of time should be

granted only when “good cause” exists. The court finds that the prison mailing delays

caused by the pandemic constitute good cause justifying an extension of time to file in
Case 3:18-cr-20422-RHC-APP ECF No. 28 filed 10/21/20                                                            PageID.195   Page 2 of 2




this instance. The court will therefore extend the deadline to file a reply for an additional

60-days. Accordingly,

            IT IS ORDERED that Defendant’s “Motion to Stay 3582 Proceedings” (ECF No.

27) is INTERPRETED as a motion for an extension of time and is GRANTED.

Defendant must file his reply by December 14, 2020.



                                                                                      S/Robert H. Cleland
                                                                                      ROBERT H. CLELAND
                                                                                      UNITED STATES DISTRICT JUDGE
Dated: October 21, 2020
I hereby certify that a copy of the foregoing document was mailed to counsel of record
on this date, October 21, 2020, by electronic and/or ordinary mail.
                                                                                      S/Lisa Wagner
                                                                                      Case Manager and Deputy Clerk
                                                                                      (810) 292-6522
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